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                       UNITED STATES DISTRICT COUR              ~ FILED
                     SOUTHERN DISTRICT OF CALIFORN
                                                                      MAR 1 4 2013

UNITED STATES OF AMERICA,                   CASE NO.   13CR070~~~____----~--

                      Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
OSWALDO GARCIA MANZANO,

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

~   an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

    the Court has granted the motion of the Government for dismissal,
    without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged           the Information:

     21 USC 952 AND 960 - IMPORTATION OF COCAINE



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 3/14/13
                                             William McCurine, Jr.
                                             U.S. Magistrate Judge
